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                        SO UTH ER N D ISTR IC T O F FLO R ID A                            FILED BY
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                                                                                               JAd 2s 2212        l
                                                                                                                  t
    JAM ES W SC O TT                    CASIE:                                                                    t
                                                                                              STEVENu t-a < gvi   1
                  Plaint?                                                                     cuEnxuà.DIsT cl     ,
                                                                                              so.oFFtk.Fr,Lkul.   ,
                                                                                                                  :

    VS

    EX PERIA N IN FO RM ATION
    SO LUTIO NS,INC .;TR AN S UNION
    LLC ;EQ UIFAX,INC.                                  Judge -   -   -   -   -   -   -

               Defendants
                                                        TRIAL BY JUR Y DEM A NDED



                        COM PLAINT FOR VIOLATIONS OF THE FCM



                                           JU RISD IC TION

         Thiscourthasjurisdictionunder15U.S.C.j1681pand28U.S.C j1331.
         A1lconditionsprecedentto thebringillg ofthisaction have been perform ed.

                                               PAR TIES
     3. The Plaintiffin thislawsuitisJam esW Scott,a naturalperson,who residesin Broward

         Cotmty,Florida.
     4. DefendantExperianlnfonuationSolutions,lnc.tExperianlisaConsumerReportingAgency
         with corporate officesat475 A nton Blvd.,CostaM esa,CA 92626.

         DefendantEquifax,lnc.(Equifax)isaConsumerReportingAgencywithcorporateofficesat

         1550PeachtreeStreet,Atlanta,GA 30309.
     6. DefendantTransUnion,LLC (TransUnion)isaConsumerReportingAgencywithcomorate
         officesat555W .Adam sStreetChicago,IL 60661.



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                                               VENUE
   7. Theoccurrenceswhich giverisetothisactionoccurredin Broward County,Floridaand

       Plaintiffresides in Broward County,Fltlrida.

    8. Venue isproperin theSouthernDistrictofFlorida.



                                      GEN ER AL ALLEG AT IO NS
       Plaintiffm ade awritten requestsentby certified mailfora copy ofhis fullconsllm erfile

       disclosure which was received by Experian on September20,2017. See Exhibit 1attached.

    10.ln responseto hisvery specifk requestforhisfullconsum er file disclosure Plaintiff

       received a copy ofhis creditreportwhich wasnotresponsiveto hisrequest.

    11.Plaintiffm ade a written requestsentby certifsed m ailfora copy ofhisfullconsum erfile

        disclosurew hich w asreceived by Equifax on Septem ber20,2017 See Exhibit lattached.

     12.ln responseto hisvery specific requestforhis fullconsum er file disclosure Plaintiff

        received a copy ofhiscreditreportw hich w asnotresponsive to hisrequest.
     13.Plaintiffmadeawrittenrequestsentbycertitsed mailforacopy ofhisfullconsum erfile

        disclosure which w asreceived by TransUnion on Septem ber20,2017 See Exhibit1

        attached.
     14.ln response to hisvcry specitscrequestforhisfullconsum er file disclosure Plaintiff

        received a copy ofhis creditreportwhich wasnotresponsive to hisrequest.
     15.Plaintiff,in m aking theexactsamerequestofeach oftheDefendants,specified in greatdetail

         exactlywhatspecificsectionsoftheFairCreditReportingActIFCItAIrequireseach
         Defendanttoprovidea fullconsumerllledisclosureatleastonceperyearatno chrge

         when a requestism adeby a consum er. SeeExhibit 1attached.



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   16.Plaintiffsrequestfora fullconsum er file disclosurefrom each D efendantw as the first

       requestfora disclosurew ithin 12 m onthsand identification in the form ofa copy ofhis

       socialsecurity card and currentstate driver's license wasattached to therequestfor

       identification.
   17.Afterreceiving aresponsefrom each Defendantthatdid notcomply with therequestmade,
       Plaintiffm ade a second and finalrequestfora fullconsum er 5le disclosurepursuantto the

       FCRA Ofeach Defendant. SeeExhibit.
                                        '
                                        2attached.A copy oftheinitialletterwassentwith

       the secondrequestforclarificationalongwith identificationintheform ofacopyof

       Plaintiffssocialsecurity cardand driver'slicenseforidentification.
    18.A tno tim e did Plaintiffm ake any requestfora creditreportfrom theD efendantsbutinstead

       WasVeryspecitscinrequestingafullconsumerfiledisclosurepursuantto 15U.S.C.j
       1681g(a)(1)asoutlined in theinitialrecluest.
    19.ln responseto Plaintiffssecond requestforafullconsum erfledisclosureto Experianhe

       received a copy ofhis creditreportwhich wasnotresponsive to hisrequestms required by

       15U.S.C.j 1681g(a)(1).
    20.In response to Plaintiffs second requestfora fullconsum er5le diselosureto Equifax he

       received a copy ofhiscredltreportwhich wasnotresponsive to his requestasrequired by

       15 U.S.C.j 1681g(a)(1).
    21.ln responseto Plaintifpssecond requestfora fullconsum er file disclosure to TransUnion

       he received a copy ofhis creditreportwhich wasnotresponsive to hisrequestasrequired

       by 15U.S.C.j1681g(a)(1).
    22.Upon information andbeliefthereissubstantialinform ationrelatingtothePlaintiffthatis

       contained in allDefendants'filesthathasnotbeen disclosed tohim including,butnotlimited



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      to,inform ation thatw aspreviously shown in hiscreditreportsand additionalinfannation

      thatisprovided to prospective creditorst
                                             .insurersoremployersw ho requestinform ation on

      PlaintiffthatPlaintiffhasneverseen orisaware of.
   23.U pon infonuation and beliefthe infonnation thatisnotdisclosed to Plaintiffcontains

       negativecodesamongotherthingsthatl
                                        àreprovided toprospectivecreditors,insurersor

       em ployerswhich directly affecthow thatprospective creditor,insurerorem ployerwould

       view thePlaintiffin term sofgranting cl
                                             redit,rating insurancepoliciesorproviding

       em ploym ent.

   24.Thisundisclosed inform ationhasneverbeenprovided toPlaintiffeven when itwas

       requested so he could exam ine itforaccuracy. ltcould beblatantly falsc oratthe least

       misleadingand withoutdisclosureby theDefendantshewould nothavetheopportunityto

       disputethe accuracy orveracity ofitwllich he islegally entitled to do underthe law .

       Disclosureoffalseormisleadinginformation to prospectivecreditors,insurersoremployers

       thatPlaintiffknow snothing aboutcould painthim in a false lightwhere he could bedenied

       creditorem ploym entorpay higherinterestrateson creditifitwasgranted and higher

       prem ium sforinsurance hanning him sllbstantially.
    25.Upon inform ation and beliefDefendanlshave farm ore inform ation relating to Plaintiffin

       theirfilesand databasesincluding archived inform ation thatPlaintiffhas neverhad accessto

       orhad the opportunity to review foraccuracy thatisprovided to othersw hen they m ake a
       requestforhisfile. This inform ation hasbeen properly requested by Plaintiffmultiple tim es

       andisrequiredtobedisclosedunder1.
                                       f;U.S.C.jl681g(a)(1)whenaproperrequestismade
       by aconsumer.TheDefendantshaverepeatedly refused to providePlaintiffwithhisfull




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      consum er flle disclosure afterm ultiple requests.His requestswere very specifc in nattlre

      and could notpossibly be m isconstrued asarequestforhiscreditreportby Defendants.

   26.Because Plaintiffhasnothad accessto lhatundisclosed informationhehasthereforehad no

      opportunity to review itand disputethe accuracy ofitifitis found to be false yetitis

      providedtopotentialcreditors,insurersand employerswithouthisknowledgeand purposely
      and illegally concealed from him .

   27.Upon infonnation and beliefwhen areportisprovided by the Defendantsto a potential

      creditor,insurerorem ployerthatinform ation isprovided in an encrypted form atwith

      instructionsto the userthattheconsum erisNOT to be shown thatinform ation. There is no

      prohibition in the law thatinform ation obtained by a usercan be provided to the consum erif

      a requestforitism ade yetinstructionsfrom the Defendantsare to the contrary. W hy?

   28,One can only surm isethatthere mustbesom e nefariousre% on why thatinformation should
      notbeprovided to the consum erthatissentto the userin an encrypted form atw ith

      instructionsto the userto concealitfrom the consum er. Itobviously m ustcontain

      inform ation thatthe consum erhasncverseen and theconsum erreporting agenciesdon't

      w anthim orherto see forsom e unknow n reason. This isobviously notin concertw ith the

      m andate offulldisclosure clearly articulated in the FCRA in unam biguous plain language.

   29.Plaintiffm ade m ultiple specifc requests ofeach ofthe Defendantsfora fullconsum erfile

      disclosureasclearly stated in 15 U.S,C ,9 1681g(a)(1)andallDefendantshavefailedto
      com ply w ith the requestsand aretherefbre in violation ofthe FCRA.

   30.Theactionsofa1lDefendantsoccurred within thepast2yearsandarewithinthe Statuteof

      Lim itationsundertheFCRA.

                                             Z
                                             COUNT l



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                                              ationsoftheFORA Page5 of7
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    V IO LAT IO N O F TH E FAIR CREDIT REPO RTIN G ACT.15 U.S.C.416*1.W ILLFUL
     NO N -CO M PLIAN CE BY DEFENDA ICT EXPERIA N IN FOR M ATIO N SO LU TIO NS           -


                                        1,4(2.


   31.Paragraphs 1through 29 are re-alleged asthough fully setforth herein.

   32.PlaintiffisaconsumerwithinthemeaningoftheFCRA,l5U.S.C.j168la(c).
   33.ExperianisaconsumerreportingagencywithinthemeaningoftheFCRA,15U.S.C.j

       l681a(9.
   34.Experian repeatedly failed to com ply w zth Plaintiff'sm ultiple requests fora fullconsum er

       filedisclosurepursuantto 15U.S.C.j1681g(a)(l).
            WHEREFORE,PlaintiffdemandsjudgmentfordamagcsagainstExperianforstatutory
       damagesof$1000.00,anyattorney'sfees,anda11costspursuantto 15U.S.C.j l681n.

                                              C OUN T 11

             W OA ATION OF THE FAIR CREDIT REPORTING ACT.15 U.S.C. $1681.
                 -

              W ILLFUL-
                      N ON-COM PLIANCE BY DEFENDANT TRANS UNION LLC

    35.Paragraphs 1through 29 arere-alleged asthough fully setforth herein.

    36.PlaintiffisaconsumerwithinthemeaningoftheFCRA,l5U.S.C.jl681a(c).
    37.TransUnionisaconsumerreportingagencywithinthemeaningoftheFCRA,15U.S.C.j
       1681a(t).
    38.TransU nion repeatedly failed to com ply with Plaintiff'sm ultiple requestsfora full

       consumerfiledisclosurepursuantto 15U.S.C.j1681g(a)(1).
            W HEREFORESPlaintiffdemandsjudgmentfordamagesagainstTransUnionfor
       statutorydamagesof$1000,00,anyattomey'sfees,andal1costspursuantto 15U.S.C.j
        168ln.



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                                            IN
                                             .OUNT III
            VIOLATION OF THE FAIR CI
                                   REDIT REPORTING ACT.15U.S.C.$1681.
              W ILLFUL NON-COM PLIANCE BY DEFENDANT EOUIFAX.llK a

   39.Paragraphs 1through 29 are re-alleged 11sthough fully setforth herein.

   40.PlaintiffisaconsumerwithinthemeaningoftheFCRA,15U.S.C.j1681a@).
   41.EquifaxisaconsumerreportingagencywithinthemeaningoftheFCRA,15U.S.C.j
      1681a(9.
   42.Equifax repeatedly failed to comply with Plaintiffsm ultiple requests fora fullconsum erfile

      disclosurepursuantto 15U.S.C.j1681g(a)(1).
           W H EREFORE,Plaintiffdem ands.i
                                         udgmentfordmnagesagainstEQUIFAX INC.for
      statutorydamagesof$1000.00,anyattorney'sfees,andallcostsplzrsuantto 15U.S.C.j
      1681n.



                                D EM AN D FOR TR IA L BY JURY

       Plaintiffherebydemandsatrialbyjuryofallissuessotriableasamatteroflaw.


                                                       D ated: January 26,2018

                                                       Respectfully Subm itted,

                                                                           *   .



                                                       Jam esW Scott
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                                                       Deerfield Beach,Florida33442
                                                       Jwsscott777@gmail.com
                                                       954-540-0408 cellphone




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                                                 onsofthe FCRA Page7 of7
